     Case 2:09-cr-00015-EFS    ECF No. 853   filed 06/29/09   PageID.2479 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,                )
 6                                              )     No. CR-09-015-EFS-4
                         Plaintiff,             )
 7                                              )     ORDER GRANTING MOTION TO
       v.                                       )     MODIFY PRETRIAL RELEASE
 8                                              )     CONDITIONS
       KHUONG NGUYEN TRAN                       )
 9                                              )            MOTION GRANTED
                         Defendant.             )             (Ct. Rec. 825)
10                                              )

11          Before the court is Defendant, Khuong Nguyen Tran’s Motion to

12    Modify the Conditions of Release by extending evening curfew from

13    9:00 p.m. to 11:00 p.m.        The Defendant, by and through his attorney

14    of record contends that the Defendant has complied with all terms

15    and conditions of his release.           Furthermore, Defendant’s employer

16    asks that the Defendant be allowed to close the business and

17    complete work by 9:15 p.m. allowing time for him to get home.

18          The   Defendant’s     Probation      Officer,      Anne    Sauther,   has   no

19    objection to extending curfew to 11:00 p.m.                     There has been no

20    response by the United States.

21          IT IS ORDERED that Defendant’s Motion to Modify Conditions of

22    Release (Ct. Rec. 825) is GRANTED.            Defendant’s 9:00 p.m. curfew is

23    extended to 11:00 p.m. All other conditions of release shall remain

24    in full force and effect.

25          DATED June 29, 2009.

26                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
27
28

      ORDER GRANTING MOTION TO MODIFY PRETRIAL RELEASE CONDITIONS - 1
